 

 

Case 7:15-cv-OO465 Document 1-17 Filed in TXSD on 11/06/15 Page 1 of 35

C-5149-14-H

Proper¢y Condltlon Report-Terracon Pro]ect Number 92088503 Terracon
Memorlal Mldc_||e School, Pharr-San Juan-‘A|amo lSD, Pharr, Texas
Photos, Dale Taken: January ?. 2008

l

     
  

    

Photo #2 Vlew of north elevation of Ma|n Bu||dlng;

   

'View of north elevation of Ma!n Bui|ding.
Ca. 1 91 8.

` Photo"w

 

=§)*Jni

   
  

Photo #4 Vie"w=o¥‘aud{torium w|ngo_f Mairi Bui|din`g-
and Claasroom.Annax ||_

Vlew of east elevat|on of Main Building,a;;

 

Ph'¢'»ti$ #`6"` ' '\n`éi.`\`)'df a`ddéd"wia§!"wlhg' at'juhc`ture wl\h
or|g|na| Mairl Bul|dlng. Note broken and
barncaded w|ndows.

 

`Phow as West e¢evaubn of Mam Bundmg.

 

 

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C-5149-14-H

Property Conditlon Rop_ort~Torracon Pro]ect Numbar 92088503 Terracon
Mamorlal Mlddls School. Pharr~San Juan-Aiamo lSD, Pharr, Texas
Pho¢os, Date Talcan: Janua'ry 7, 2008

- ..-;.x'

  
    

 

Fho`w in view of adea stairwell on Maln Buuding

     

    

’.} $._' _. .,, _ - -_“h
0 East elevat|on of C`afetorla Buiidin'g and
typical covered walkway.

~@:S~f _`

 

Phnz_o #1

Pholo #11 North and west elevations of Cafeterla Photo #12 East elevation of Classroom Annex l and

Bu|ldlng typical covered walkway.

   

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1
-. C-5149-14-H

Property Condl\lon Report-Terreoon Pro|ect Number 9_2088503
Memorla| M|ddle School, Pharr-San Juan-Aia`mo lSD, Phlrr, Texas
Photos, Dete Tekeii: Jenuary 7. 2008

Terrecon

 

North eleve|t|on of eeet end-ofsternbe_ugh
Bu`i|d|ng.

 

      

orth elevaiion of Stae`mbugh solidan

Photo #15 North elevation of west eng of l
Stembeugh Buiid|ng (Old Bend Hel|). showing Teachers Louhg_'e `eree.

      

'Phew ms west'areren¢h'¢fse'mbaugrreuimm§ ' "
(Old Band Hall)

Phow #17 Ea"st elevation or srambauhg eundlng.

 

 

 

 

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Proparty Condltlon Report-?erracon Pro]ect Number 92088503 ' Te'rracon
Memorlal M|dd|e S¢`:hool, Pharr-san Juan-Alerno lSD, Pharr, Texas
Photos, Date Taken: Januery 1, 2008

    
    
    

Dapa'rt"mént B_ui|d|n_g.

B\.lllding,

Photo`il`z`$" View of north perklng'erée ei"M`eih
Bu|ld|ng.

"Photo #19 E'est and nonh el`evatione"of"l"okibook

`Pho'to #2`1 We's'i el'svériuri ofTex\nook Daparrrherir'

 

Sou`il"i elevation of Te`x'tbook Depertme`nt
Bu\lding.

      
  

l"-'l`l`hi:iio #_22 `Eeei""`and horth"`e`le'véi §`¢`:if`("ijm'nes`|u'r`h
and Fleld Locker Room bulld|ng.

'Fh¢)'w #24 view drea§tperr<rr'rg a"réa'§r'-Main'. ' '
Bulld|ng.

 

 

-:. - w.-...

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C-5149-14-H

Froperty Cond|t|on Report-Terracon Pro]oct Nurnber 9208|3503 Terraco`n
Memorla| Mlddie School, Pherr-Sen Juan-Alemo lSD, Pharr, Texes
Photos, Date Taker`\: Jen"uary 7, 2008

         
    
    

photo #25 Vie_v.r` of`ea`s'f'oerk'ln'§'eree on `rior`lh eide of 'Photo #§B lV|e'\lv of' eeéf"lot on east 'éldo of"l'exthook-
Textbool< Department bu||d|ng. De"pertment bulldlrlg_.

 

'Piierh #2'1' 'Heh'alcae§éemérked end signed parking
speces.

 

errata 1129 ' T'ypr¢a: deterierme'd asphalt pavemehr."' ' "

 

 

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C -51 49-1 4-H
Property Condltion' Raport-Terraoon Pro]ect Number 92088503

Terracon

Momoria| Mldd|e Sc_hool`, Pharr-San Juar_i-Aia_mo lSD, Pharr, Texas_

Fhotos, Date Taken: January 7, 2008

imamalal l.llddla salad
ls ll closer l:ll_ldlli_ls_l
=-_-AL_L ll-lsirelrs l`_ll|llsr'
1` n`EPo'llr roellll`llll

Ph'ato #33 ad walkway failure at'

Mlin Buiiding eudiiorium.

 

P'hota #'35 Ma'a'aaiv "a aa diagonal amaxan ad
iVle|n Bui|ding. Note deteriorated wood
l|»_ trlm.

 

    
     

.-.._-..`-_d._.._._. _ _._'._‘l._,,\..¢

lPh`t:lill:l #36 Niesonry vertical oreckln`g"`d`n sierrlb'ali§il

     
 
    

  

Phoio'#32 E|`eveted vreikwey feilure.et entrance io'
Main Bulidirlg auditorium.

Photo"#'$d Eleveted weikwey failure ehovll`n ih Photo
#33. Note barricaded door.

Building, old bend hall wing.

 

 

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C-5149-14-H

Property Condltion Raport-Terracon Projacr Number 92050503
Memorial ,Mlddle Schooi, Pherr-sen Juan-Alarno lSD, Pharr, Texas
Photos, Date Taken:_ January 7, 2008

   
   
   
 

Pho‘to # ?` Typiolai` aged end deterloreted mortar on
Mairl Bui|ding.

. oh n ,r- r‘ l\ l ?:
ll='hl'.\tr.'l #3`9 Typitlel deteriorated pre-cast architectural
concrete on Ma|n sg|iding. Note exposed

_ end oorrod_ed_reinfo'rcing teel.

   
  

 

 

   

Pheta #41 Typlcal lmprep'erly sealed wall

penetration and roofdebrls.

P"hete #aa ryal¢al' aged derertedrara,` and patented

`Phoot';rit) Typil:al deterlo

Terracon

  
  

mortar on Mein Bullding.

 
   
   

rated pre-cast architectural
concrete on Mein Buiid|ng.

Phete m Dalarlerele"d'“'raor'éa‘vd=éhd open wall

penetration

 

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Property Condltlon Report-Terracon Pro|e_ct Number 92088503
Memorial Midd|a Schoo|, Pher`r`.-San Juan-A`lemo lSD, Pharr, Texes
Photos, Dete Teken:- January 7, 2008

Terracon

    

    
   
    

 
 

_-l..,. _' . t .. -.l~. ,.dl?.:\ . `
Pho`to #43 Typical masonry stalning. Note old bend Photo #44 Typlr`:al masonry etalning from downepol.rt
hall crawl space vent with no pes_t screene, on T_extbook Depertment bulld‘lng.

   

 

   

Ph`oto"#d$ "Typ`lce| damaged downepout on Maln Photo #46 Typloal? damaged downspol.li on Meln n n
Bul|ding. Bl.llicilng. Note moisture sta|nlhg.

 

l=hete #43` ryplaal unsupported eandult and
improperly fleshed and deteriorated
vents.

 

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Propariy Conditiol_\ Report-Terracon Pro]ect Numver 02088503
lillemoriel Mlddle Schoei, Pherr$en Juen»Aiemo lSD, Pharr, Texas
Ph_otos, pate Teken: January 7, 2008

   
     

"Paald ma ryaleal damaged metal eap'aaehlag_
Note no metal oap`liashing"on parep`et
__llreii In background

-ll vi

 

    

Tpica| lmpaedroperiy`fieh perapeton
Gymnaeium roof.

Phata #51`

Photo #53 Deateriorted parepet wall end downepout
on Textbook Departmeni building upper
rooi. Note missing epiash block.

 

'P'htlto #52

 
   

..T

Phata #54 '

Terrecon

      
  

yp`ioa| damaged HV)§C equipment
aj_upports'. Note exposed and deteriorated
blt_urnen rooi'ing.

F|'aahirlg et acupper on Textbook n
Deperi:l"nent building. Note eeparetion of
pliee.

   

Typicai eberle-n roofand unsl`.l`pp`i:lr`t`e"l'd"
p`iping.

 

 

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C-5149-14-H

Prcperty Ccndition Report-Terl~econ Pro|ect Number 92088503
Memor|ai M|ddle Schooi, Pherr-Sarl Juen-Aiamo lSD, Pharr, Texas

Photos, Date Taken: January 1, 2008

Terracon

    
    
    

   

o o #56 Broken condensate drain discharging
condensate onto rooi.

 
   
   

Photo_ #55 Area ofpondlng on Stambeug`h Biduiing
root Note tree on edge of roof requiring
irimming.

"Pheta #51 near deaer le stampeth eulldlng, aid `
bend heil roof demege. Note wood
shingle under metal peneis.

Phata usa Malngreer.d
eulldlng.

 

. _ .- .' '5_- . . '~':'-r.¢- l , id - n . `*T:`- ) 'r .. ’\l.
lPhoto #50 ’Typicai damaged and dteerloraied i-iVAC Photo 300 Typlcai improperly constructed pitch pen.
equipment screon.

 

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C-5149-14-H

Property'Condltion Report~Terrecon Pro|ect Numi:er 02088503 Terracon
Niemorl_ai Middlo__ School. Pherr-Ban Juan-Alemo lSiJl Pherr, Texas
Photoe, Date Taken: Januery 7, 2008

    
    
    

 
    
    

Phcto #61 oij`e'te`rlorated feacieand roof"a'{l Flel`d P'h'ot`.o 362 l`|l`.it-)ter'ior‘€.lted roof of F.ieid Lo`ci<er Roorn
Lccker Roorn i`)'_uilding. bullding.

Photo #63 Vlew di deteriorated roof et Fteid l_o`cker` ` Phdt_o'#B`-$ "View of deteriorated canopy at
Rocm bullding. Stembeugh Bu||ding. old band hl|ll.

Phdie #tls' cafeteria Phace ass cafeteria

 

 

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C -51 49-1 4-H
Property Condltlon Report-Terraoon Pro]sct Number 92088503
M_emorls_| Mlddie School, Pharr-San Juan-A|amo lSD, Pharr, Texas
Photo`s, Date Taken: Janual_'y T, 2008

 

Pho'to #B`! Gymnas\um

    
   

Photo #59 C|a'ssroom under renovantlo in
Classroorh Annex l

.. i_.
Photo #71 Stambaugh building '- 4Boys restroom
used as store room.

" Phow #12

`phozo m sca

Teachar workroom

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'Terracon

 

    
    

 

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Proporty Condi_tion Report-Terracon Pro|ect Number 92088503 T'erracon
Memoria| Mlddle Scho'o'l, Pharr-San Juan-A|amo lSD, Pharr, Toxas
Photo§, Date Ta_ken: Jan'uary 7, 2008

.. J_-

    
    
    

 

    
  

Phota #76 corridors ofTei<iboni<.i`japar`imeril' '
bul|d¢ng

Ph`dt`c`>`#?"$ Typica| storage area of Taxttlook
Department bu||ding

 
 

" .. ' '. `l!* _.
Photo #7"! Corrldors nfT`ex\book De_partme__nt Photo #?H F|ocnng at' ymnasiurr`i

build|ng

 

 

 

 

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C-5149-14-H

Proparty condition Report-Terracon Pro}ect Numbsr 920||8503 Terracon
Memor|at M|ddla Schoo|, Pharr-San Juan-Alamo lSD, Pharr, Texas
Photos, Date Takan: January ?, 2008

\

    
    

Phece _#79 Tee`i`ur_n ceiling indieeiee reef leak et
Gymnasium.

   

li
r

Fhoto #84 Fieldhouae Locker Roc')m..

 

{l;hoto #83 Fialdhouse Locker imerL `

 

 

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C-5149-14-H

'Property‘Cond\tlon Report-T-arracon Pm|ect Number 92088503 Terracon
Memor\a_|_M|dd|é Schopl‘, P|\arr-San Juori-A?£irno |_SD, PI'iarrl Texas
Photos, Dat_e Taken: Jariuary 71 2008

  

Pi.ei

   
 

 

ci'#BS F|e|d Lo¢ker Room bull<itng s_hr)we\j.

      
   

Phete #as` C'e'fei'erie sewing 'e`ie`e eeiii'n`gi

    

Piieie"#s'o cafeteria serving area eeiiii'~i'g, Phete"#§'ii cerei'e'rie'eerving area weiie.

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Fropsrty Condltlon Report-Terracon Pm]ect Nurnbsr 92083503
Nlemor|al Mldd\o School, Pharr~San .luan-A|amo lSD, pharr, Texas
Pholoa, Dale Taken: January 7, 2008

Terracon

    
    
     

 

phe`i'e'#§z"'cefeieria kitehen"'eie'rr'r'é§treem,. " " "

_ __._-1 »e,*e

 

:i=heie'#oai " Typi'e: iie'e'_r' eurféeee in Mein Build`ing,_ ` `

 

       

Exisiing clas'eidom"floors Ih` Mein
Bu||dlng.

`F'hoto #BB Exlst`ing Eli=.issruorri`ftciors `|n Main Fl'iofi`:i`#%
Bulld\ng.

 

 

 

 

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C-5149-14-H

Property Cond|tion Reporl-Terracon F'ro]ec! Number 92088503 Terraoon
l'i_i‘_lamor|al M|dd|e School, Pharr»San Juan-A|amo lSD, Pharr, Texas
Photo_s._ Date Taken: Januar_y 7, 2008

     

    

Pheie #oa T`ypieei ireneiiien bemé'eii ereeereeme in
Ma|n Bui|ding.

`!Phece#im _Exlsiingiib'r'erv'eimeinBullding,; ' l PHet'e'#"i'oz E§ie'i'ine'nbrer§iefmein"Bu'iiding." '

 

 

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C-5149-14-H

Property Condltlon Report-Terracon Pro]acl Numhsr 92088503 Terracon
Mamorlal Mldd!e School. Pharr-San .Iuan-Alamo l$;l:\l Pharr, Taxas
Photos, Dato Takan: January 7, 2008

   
   

 

    
    

P`h'e'ie #106 Exiecin'g eieee!ieferhe'e'fme`ih `Buii"d|n§_' " "

'Photo #"TG`B "E`:`i|éii`r"ig adi"`filnis`trétion ar`ei'a` tif Ma|n` "

'Ph`o`to`#i|}? :E><¥st|ng déésruoma of M."a"iri"Bil|ld`\`irQ.
Bunding.

 

 

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Property Condlt|on Report-Terracon Pro]ect Number 92088503
Memdr|a| Mlddle School, Pharr-San Juan-Alamo lSD, Pharrl Texas
Phol;os, D'afe Ta|_i<en: January 7, 2008

 

Phete ima

Terracon

   

Exieiiii'g"éiiiiiiriieti-even 'ei miele -Beiiei'n'g,

 

 

    

'P'heie #113 Exietih`g well '§'uife'_eee' ei Me'in suiiding.

    

P'hofo #114 EK|S{iT'lg Walls bf Ma|n BUE|diri-g'. "

 

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Terracon

Property Condlt_lon Report-Torracon Pro|eot Number 92088503
Memor|a| Mlddle School, Pharr-San Jua,naAl_amo lSD, Pharr, Texas
Photo¢, Date Taken: January 7, 2008

 

  
    

i=h“#t'ts"` l=l`eorieri below grade area below
aud|torlum stage area of Matn Bulld|ng.

 

"'Plieto~#t1'1`"Wp:oel'stuoeht‘restroorir
Bulld|ng.

    

ll=»t`roto #119 AHL) rt'{oditi`ed with n)<'eo"l`l installed in l=hoto thin Aotorr_re"t_r_l_>'<' bonding automation eyetom '
library of the Ma|n Butld|ng |nstalted |n the Maln Bui|ding

 

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C-5149-14-H

Property Condltlon Raport-Terracon F’ro]ect Nui'nher 02083503
Mamorlal Mldd|e School, Pharr~San Jtteri-Alamo lSD, Pherr, Texas

Photos, Date Taken: January 7, 2008

TBrl`aC°l'\

        
      

`Photo #121 Electr|c_;al ewltc_h gear,|_n the Nlaln Bulld|n§

Photb #122 Pad mounted tr_an:efornters':a'¢;lla-oent:to n
the Main Bullcllrlg

     

    
  

      

      
   

   

, _
' " " " ' ""'.' -"-"'5*'1'»‘. _ la '- ""' _.
Photo #123 Chl|le_dlhot weter and bol|er water pumps Photo #124 Natural gas-flred b_c_i__l|er providing hot
in mechen|cal room adjacent to the water to AHUs ln the Main Bu||d|ng

      

' \-:_a_r!'i' _ ':, . F.r .

Photo #125 Reclproceting ch|||ers installed |n 2001 at
Nlaln Bulldlng

     

of the Claseroom Annex ll Bulld|rlg

 

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C-5149-14-H

Propelty Condltlon Repprt-Terracon Pro]ect Number 92038503 Terracon
Memorla| _Mld_dle Sch<f),ol, Fharr-San Juim-A|amo lSD, Pharr, Texas
Photos. Dete Taken: January 7, 2008

  
  
    

   

.Photo #1_27 condeoelng unite_inetellerl _l_n_ 1985 entire Photo #“128 condeneing units installed irl 1990 entire
Textbook Departmerlt Bui|ding Textbook Depariment Bu|idln_g

     

h'¢..?l'#¥'-MJ\-!' 'l _ 34 -’] '|

Photo #129 Coppor, PVC. and cast iron plpln_g |n the Photo #13__0_ Suspended AHUs in the Gymnasium'
Te)'ltbool< Department Bulldlng Buildtng

   

Photo #131 Typicai pull station in offices of the P_hoto #132 Typlcal RTU installed ln 1981 on the
Gymnasium Bu||cllng Staumbeugh Bullding

 

 

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Property Oendltlon Report-Terrac_on Pro|ect Numlqer 92088503 Terracon
Memorlal Middle School, Pherr-San Juan-A|amo lSD, Pharr, Texas
Photos__, Date Taken: January 7, 2008

 

Pheto #133 'l`yplcel AB_S waste and vent piping Photo #134 Typ|ca| deteriorated AHU in the li/laln
observed in the llr‘lain Buiiding Building

      

Photo #_135 Typ|cel cerreded return air gri|lee of AH Ue Photo #136 Typlcal corroded casing of AHUs in the
ln the Meln Bul|ding Maln Bu|ldlng

 

Photo #137 Accumuiated debris on coil of AHU in the Photo #138 Evldence of birds roosting over AHUs in
N|ain Bulldlng the Mein Bulidlng

 

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C-514'9-14-H

Property Condltlon Report-Terracon Pro]ect Number 92008503 Terrac_on
Memor_l`a| Mlddle Schooi, Pharr-San Juan-Alamo lSD, Pharr, Tex_es
Photos, Date Taken: January 7, 2008

 

Photo #139 Debrls built up in condensate drain pan of Photo #140 Corrode`d piping couplers at chllledlhot
AHU in the Ma|n Build|ng water pipan and beller water pump

   

Ph_oto #141 Typice| ceiling fan with bent fan blades Photo #142 Vendel|zedjcondenslng units serving the
Mein Bu|ldlng

 

Photo #143 Vandallzed condensln| coil fine atwater Photo #144 Demaged chilled/hot water/beller water
chiller piping at the lVlaln Build|ng

 

 

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C-5149-14-H

Property Cond|tion :Report-Terracon Pro]ect Number 92083503 Terracon
Me°mor|al M_lddle Schoo|, Pharr-San Juan-Alamo lSD, Pharr, Texas
,Photos, Date Taken: ._l_anuery 7, 2008

    
    
    

 

.¢ l\.,. »r.

Photo #145 Damaged chilled/hot water piping at the Photo #146 Abendoned dishwasher exhaust hood ln..
mechanical room of Maln Building. kitchen of the Cefeteria Building.

    
    

Photo #14? Corroded water heater serving the Photo #148 Abandoned_ RT__Us on the Textbo_ok_
Cafeteria Build|ng Department Build|ng

 

Photo #149 Damaged exit light in the Stambatigh Photo #150 Deterlorated emergency battery pack irl
Build|ng the Stal'nbaugh Build|ng

 

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C-5149-14-H

Property Condltlon _Report-Terraoon Pro]ect Number 92088503 Temlcon -
Nlemorlai Midc_l_le School, Fharr-San Juan-Aiamo lSD, Pharr, Texas
Photos, Date Teken: January 7, 2008

    

Ph`o`to 111 51 Vanciel|zed condens|ng units on the
Gymneeium Build|ng

 

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C-5149-14¥H

Asbeotos Procedures

AHEFiA

(Aebestos Hazard Emergency Flesponee Act) US EPA 40 CFR 763, Subparts El F)
Signed into law in 1986, AHEFtA was enacted to protect school children from exposure
to asbestos _flbers. AHEHA required that school districts identi_ty, quantity end locate eli
asbestos containing building materlais, both triable__and non-iri_abls. Aithough AHEFlA is
specifically applicable to schoo|s, the asbestos 'inspectionl‘ssmpiing protocols end
management practices established under AHEFtA have become the recognized
standard of cers. Ths training requirements established under Ai-lEFtA have been
extended to other structures (commsrcial and public bulldlngs)" by subsequent
regulations ' `

U_nder AHEFiA, on asbestos containing material _(Alei) is considered any material or
product containing greater than 1% asbestos An asbestos containing building material
(ACBM) is defined as any ACM found in or on interior "structursi members o`r other parts
of _th_e building ACBM is grouped into one of three cetegories: surfacan meterial,
thermal system installation and miscellaneous ACM. anh category of materials may be
classified ss triable or non-tneb|e. -Friable ACM is defined ss ACM which, when dry, may
be crumbied, puiverized or reduced to powder by`;hand pressure

AHERA lnspectlon!$ampll_ng Protoc_ols _

AHEFiA dictates specific inspection and sampling protocols end requires schools to
maintain management plans and to perform re-ins:peci_ions of ACBM. As lndiceted, the
inspection end sampling protocois outlined in the AHEHA regulation are the industry
standard cl cero'. A summary ot AHEFiA sampling protocois ls as follows:

:- inspection must be performed by an accredited bnilding lnspector.
, visually inspect the building interior and identity locations ot ali suspect A__c_:stt/l.

identity all homoge`nou's` areas ot triable suspect ACBl\/| and all homogenous
‘ areas ot non-frisbie suspect ACBM. '

l Touch all suspected ACBM to` determine whether they are triable

Surtaclng materials
Coi|ect, in e statistically random mention et least 3 bulk samples from each homogenous~
area of 1000 ft2 or iess. at least 5 bulk samples from each homogenous area that is
>1000 it2 but less than 5000 tt2, at least 7 built samples of esch homogonous area
greater than 5000.j:tt2.

Thermel Svetem insulation

Coliect, in a randomly distributed manner, at least three built samples from each
homogeneous area ct TS|; collect at least one built-sample from each homogeneous
area of petched TSi if the patches section is less than 6 linear or square teet; collect
bulk samples from each insulated mechanical system where cement or plaster is used
on tees, eibows, etc. "|n a manner sufficient to determine whether the material ls ACM."

 

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Mis_oe_llaneous and Non-Friabie ACBM g _
Coiiect bulk samples in `a;m`a_nner sufficient to determine whether the material is ACM»
` Analysis of bulk samples must be performed by an accredited laboratory

AHEHA Tralning Hequirements

AHEF|A establishes various levels of training for personnel engaged in asbestos~related
activities, and a Moclel Accredltation Program (MAF') that outlines minimum instructor
and training curriculum guidelines for each lsvel. The five levels of AHEFlA accreditation
are as foilows: `

Worker , _
.F,o_u_r day course requireder personnel who will engage in asbestos removal activities
'(_'ab'atempnt worker training).

Build|ng inspector g _ _ __

Three day course which covers techniques for inspecting AC.|Vl.'i_i_'l buildings Build|ng
inspectors may collect samples and report the condition of ACM and the results of
sample analyses". They may not write management pians, design abatement projects or
conduct removal activities

lillanagement P.lanner

Two day course following the three day Building_inspectpr prerequisite instructs
personnel in hazard assessment and development of asbestos management plans to
control asbestos irl place.

Contracto_r/Supe_r.vlso'r _

Five day course for personnel who will contract to perform and/or supervise abatement
projects; also required in order to serve as licorr_ipetent person" o_n an asbestos
abatement proloc_t. '

Pro]ect Deslgnfe"l"

Three day course required for personnel who design asbestos response actions or
abatement protects (piane and specifications for asbestos removal projects}.
Prerequisite: None. however ContractoriSupv. or lnspector!ivlsnagement Pianne_r

encouraged

Awareness Tral_ni,n`g

A TWO HOUR training requirement for custodial and maintenance personnel who work
in buildings containing ACBM. Awareness training _i__s_required whether these personnel
disturb the materials or noi. Personnel who may disturb ACBM during the course of their
duties require an additional, site-specific 14 hours of asbestos awareness training

Annuai half day _oriull day refresher courses are required for each asbestos discipline
iviany states require llcerisurelregistration in addition to the appropriate level of AHEHA
training.

 

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NE_S_HAP (Nat|onal Emissions_ Standa`rds for l_-lazarc_|ous Air Poilutant's) EPA 40
CFH 61

in generai._the asbestos NESHAP is _a waste disposal standard that addresses four
basic points_`:

- Fugitive asbestos emissions from work sites l

l R`ernova'i:of- asbestos before performing demolition and renovation

. Notification requirements prior to asbestos removal

. Standards for disposal of asbestos containing waste materials in landfills

The EPA's asbestos NESHAP estabiishes a NO V|$,iBLE EM|SS|ONS standard ior
releases ot asbestos fibers to the environment and requires‘that regulated ACM (BACiv‘i)
be removed prior to demolition or renovation activities=.

The asbestos NESHAP requires 10 day advance notification for planned removal o`t
more-than 160 iinear or 260 square feet of asbestos

NESHAF ACM:-r¢`ateg`orie,s

RACM (Regulated Ashastos Containing Materlal) is defined as any triable asbestos,
any Category 1 non-triable material that will or has been subjected to sanding, outting, 'or
abrading and any Category ii non~triab|e ACM that has a high probability of becoming
triable during demolition or renovation.

Category t Non-triabie ACM _|s any packings, gaskets, flooring. roofing materiais,
mastios stc. that contain more than t_% asbestos Category l non-triable ACM typioai|y
consists of products where asbestos fibers are bound by a tarry or adhesive substance

Cejtegory il Non-frlable ACM is everything else that contains >1% asbestos, ri-.~_e.,
transit"e'. '

Or_i|y FiACii/i need be removed trom` a building prior to demolition or?ren'ovation.

_;OSHA Ashestos Standards _
129 CFR 1910.1001; 29 CFR '1926.110-1_)

Th_e OSHA asbestos Standard for _the_ Gonstruction industry (29 CFR 1926.1101) is the
primary standard governing asbestos#related> building activities

The OS'HA asbestos standard is a worker protection standard

A|| OSHA standards establish a permissible exposure limit (PEL) of 0.1 fibers/co of air.

 

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l Under the construction industry asbestos standard, buiiding owners and long-
ferrn lessees are considered "stafutory empioyera" with responsibilities for
protecting workers, even lf' they are net their own employees

The standard presumes that ali sprayed-onitroweied-on su`rfacing materiais, thermal
r system insuiatlon and resilient floor tiles installed prior to 1981 are asbestos containing
! (PACM) until sampled and proven otherwise

` Warning labels are required on or near known ACM or PACM.

. Building owners are required to maintain information regarding the presence of ACM or
i' PACM and to transmit the information to potentially exposed employees and subsequent
building owners. `

1 lnspections undertaken to rebut the OSHA presumption that materials are asbestos
containing must be done by an AHEFtA accredited Building inspector in accordance with
: AHEHA inspection and sampling protooois.

OSHA 29 CFFt 1926.1101 also outlines training requirements and work procedures for
rvarious classes o_i asbestos work, including removal of floor tiles, roofing materialsl
janitorial work, limited and large scale removal projects

ASHARA iAsbes`tos School Hazarcl Reauthorlzation Act)

EPA regulation that reauthorized AHEHA; expanded and upgraded the AHERA Model
Aocreditation Program (MAP).` and extended the requirement for Al-lEFiA accredited
Build|ng inspectors from schools to `all commercial and public buildings Commercial and
public buildings are defined as ali buildings other than schools and apartment buildings
of fewer than 10 unlts. Singie-farn||y homes are also excluded from the definitionl

Why de bonding owners/managers perform asbestos lns'p`ectlons?

School inspections

Schoois (Kinder_garten through Grade 12) are required by federal AHERA regulations to
perform detailed AHEFlA-pres_cribed inspections, to maintain management plansl and to
perform res-inspections every 3 years.

Pro_perty Transfers _

Asbestos inspections are frequently requested during property transfer negotiations for

various reasons inciuding:

d Attempts to negotiate purchase price based on the potential costs of asbestos
removal or` regulatory compliance

Pi`ann_ed demolition/renovation as dictated by NESHAP requirements

To rebut the OSHA presumption that surfacing, TS| and floor tile are asbestos
containing.. `

To comply with OSHA communication of hazard requirements to future
tenants/workers

A desire to identify and remove asbestos prior to purchasing a building.

 

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Non-Property Transfers

=Asbesto`s inspections are also requested by clients who are not planning purchase or
sale of facilities Among the reasons building owners request inspections are similar to
the above.

To rebut the OSHA presumption that surfacing, TS| and floor tile in a commercial
or public building are asbestos containing

To meet the OSHA 29 CFFi 1926.1101 communication of hazards provisions A
building owners employees _|essee's employees and contract employees such as
telephone and computer installers. plumbers, etc. have the right to know if they will
be exposed to ACivi when they perform work in a facility.

Be_cause demolition/renovations are planned (NESHAP requirements)..

Because they want to locate and abate all ACM to avoid future administrative and
personnel responsibilities and;financ|ai iiabiiities.

lt is important to understand a client's needs for an asbestos inspection A ‘*limlted“
survey with an arbitrarily imposed maximum number or 10 samplesl for instance', will
probably not be sufficient for NESHAP requirements will most probably not sufficiently
rebut lite OSHA ACM presumptions and may not comply with AHEFiA inspection
protocois, the industry standard of care.

if a client specifically requests a cheap, limited survey and restricts the number of
samples to be collected and analyzed, ceveats must be included in both the proposal
and report to indicate the limited utility of the survey-'resuits, especially where renovation,
demolition or abatement are planned. Limited surveys will most probably not be
adequate to determine abatement costs.

What_ are the requirements for personnel who conduct asbestos inspections?
Personnei who perform asbestos inspections must receive AHERA Building inspector
training and must meet any additional state training, licensing or certification
requirements Fieoent|y codified inspectors should consult a more experienced inspector
prior to initiating asbestos inspection activitiesl Building inspectors are limited to
conducting visual assessment and bulk sample collection and may comment on the
presence and condition of ACM. Building inspectors are not typically qualified to conduct
training, estimate abatement costs or to write management plans. Suci-t activities are
prohibited by some state or local regulations in the absence of additional training or
iicensing.

What are the requirements for personnel who write asbestos management plane
(O&iiii)? '- _

P_ersonne| who write O&|Vl plans must have received the five clay EPA
lnspectorilvianagement Planner training ccurse. and where required, must possess the
applicable state license or certification Oniy those personnel who have had previous
experience in writing management plans and who possess appropriate document
models should are permitted to author O&lv'i pians.

 

 

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What are the requirements jfor personnel who conduct abatement supervision or
air monitoring?

An independent third party supervisor is typically employed by building owners to
oversee asbestos abatement activities and monitor compliance with contract terms and
project plans and specifications Such personnel must have completed the EPA
ContractorfSupervisor training course and possess applicable state licenses or
certifications. A|r monitoring technicians must be experienced in air monitoring and
calibration _procedures. N|any states require personnel conducting asbestos air
monitoring to possess a separate certification and to complete an air monitoring course
provided by or patterned upon the NiOSH 582 air monitoring course. No Terracon
employee should be permitted to conduct asbestos_j_alr monitoring unless they possess
the applicable state certification and have completed the NIOSH 582 training training
course.l

Wh_at is a project designer_? l

A project designer leone who writes plans and specifications for asbestos abatement
projects. Personnei who write plans and specifications must have completed the EPA
Project Design course and must possess the appropriate state centf|cationriioense.
Some states have relativer stringent standards for Project Designers, requiring a P.E.,
A|A, ClHUor documented constructionii-iVAC experience and specific educational criteria
On|y those personnel who have the appropriate training and iioensing, extensive prior
experience and working document models should be permitted to attempt asbestos
abatement plans and specifications ' "

Do personnel involved In asbestos-related activities require medical
exem|netione'i'- __ _ _

Under the OSHA asbestos standards, the employer has an obligation to_ ensure that
employees are protected against exposure to asbestos fibers in. excess of 0.1 fibers per
cubic centimeter of air (O.ifr'cc). Personne| engaged in asbestos-related activities
(lnciucling building inspections) must be trained, medically cleared and fit»tested for
respiratory protectionl Therefore, enrollment in a medical surveillance program in
compliance with the OSHA asbestos and respiratory protection standards is mandatory
No Terracon employee is permitted to engage in en asbestos related activity unless they
are enrolled in the Terracon medical surveillance program and have been medically
cleared for respirator use by a physician Each employee must also be issued
appropriate respiratory protection, receive training in Its use and ilmltations, and
successfully pass a fit-test utilizing the respirator(s) issued

Budg_etary Costs for Consulting, Sampiing, and Possib_le Abate_rnent

For the purpose of estimating the impact of environmental consulting related to sampling
and the possible abatement of ACBM at the sublth sites by_qua|lfied contractors
Terracon interviewed and was advised by the school district maintenance personnel of
the extent and types of potential ACBM at the subject sitas. Terracon’s personnel
involved in property condition assessment activities at the subject sites were not
licensed and did not perform environmental sampling related to potential ACBM at the
subject sites. .F.rom our interviews and verbal information provided, Terracon developed
budgetary cost estimates for projected environmental consulting for sampling,
development of possible abatement scopes of work,, and monitoring and for abatement
scopes of work by qualified contractors using typical industry costa Aotuai proposals for

 

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environmental consulting and possible abatement by qualified firms would need to be
obtained to further define these soopes of-work, scope, and costs for the subject sites.

 

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Structurai Report for Memorlal Midd|e School
Pharr - San Juan - Alamo independent Schooi Distrlct

The |Viemoriai i\/_lidd|e Schooi is comprised of the following individual buildings:
iV|a'in Building

Cafeteria Building

Ciassroom Annex l Building

Ciassrocm Annex ll Building

Gymn`asium Building

Dressing Roo_rr_i Building

Fieid Locker Room Building

Stambaugh Building

Textbook Department Building

599°_"49’$":'>.°°!\".'*

The buildings vary in structural type and are identified in Terracon’s report under TAB 2.

Thers are no significant signs of structural distress on any of the buildings' foundations There
are some noted perimeter wall cracks on the l\/lain Building and the old band hall wing of the
Stambaugh Building. The`se cracks are most likely caused by minor differential settlement of
the foundations and can be readily repaired by underpinning the perimeter foundation beams
with cast-in-place concrete'dri||ed piers.

Surface corrosion of the steel framing and or metal roof decking is existent on either side of the
original corridor connection the Main Building to the auditorium. There are large areas, two to
three square feet in size, of deteriorated metal roof decking of the Fieid Locker Room Building.

Whi|e the buildings are in generally in good condition, isolated areas of damage due to water
infiltration are evident throughout the buildings.

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Eii R. ochoa, PE, AIA $‘:UR:;;;:CHOA%§
03.28.08 ‘-¢.'>g.,'*-., ' __.'¢,‘y;
lr.“";§~ 1 ..... _ ________ _ "'¢°~Z?`.'."'
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Structurai Report for Memorial Midd|e School
Pharr - San Juan - A|amo independent Schoo| District

The Memorial Middie Schooi is comprised of the following individual buildings:
lVlain Building

Cafeteria Building

C|assroom Annex l Building

Classroom Annex il Building

Gymn`asium Building

Dressing Room Building

Fieid Locker Room Building

Stambaugh Building

Textbook Department Building

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VVhi|e the buildings are infgenerally in good condition, isolated areas of damage due to water
infiltration are evident throughout the buildings

E|i R. Ochoa, PE, A|A
03.28.08

 

